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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT ()F GEORGIA

 

SAVANNAH DIVISION

PAUL CHARLES LEMKE CASE NO. 18-40343-EJC
TWIGGY YEIKO LEMKE CHAPTER 7
SYNOVUS BANK

Movant
vs. CONTESTED MATTER
PAUL CHARLES LEMKE
TWIGGY YEIKO LEMKE

Respondents/Debtors

WITH])RAWAL ()F MOTION FOR RELIEF FROM STAY

 

Comes now Synovus Bank and Withdraws the Motion for Relief from Stay filed Ju1y 11,

2018(1)0@. 54).

This 20th day Of September, 2018.

Attorney for Synovus Bank

s/ Stephen G. Gunbv
Stephen G. Gunby, Esq.
Attorney Bar Nurnber: 315212

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CERTIFICATE OF SERVICE

This is to certify that l have this day Sei'ved a true and correct copy of the Withdrawal of
Motion for Relief from Stay electronically or by First ClaSS l\/Iail With sufficient postage affixed
thereto to the below interested paities:

Paul Charles Lemke
Twiggy Yeiko Lenike
5 Grand Lake Circle
Savannah, GA 31405
U.S. Mail

C. Jarnes l\/lcCaller, Jr.
P.O. BoX 9026
Savannah, GA 31412
ECF

Wendy Anne OWens, Trustee
P.O. Box 8846
Savannah, GA 31412
ECF

This 20th day of Septernber, 2018.

PAGE SCRANTOM SPROUSE
TUCKER & FORD, PC

By: S/Stephen G. Gunby
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